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C'L..[E[`“.` .i}l-“
HARMON FRANKLIN, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
UNITED TRANSPORTATION, INC. CASE NO: 02-1042-B
and TIMOTHY H. HOLT,
I)efendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered

IT IS SO ORI)ERED AND ADJUDGED th at in accordance With the Order OfDismissal With
Prejudice entered on May 3, 2005, this cause is hereby dismissed with prejudice.

APPROVED:

D NIEL BREEN
N ED STATES I)ISTRICT CoURT
§ll£>’_

Date Clerk Court

 

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(By) _Denut.V .Cl€l'k‘

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Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 1:02-CV-01042 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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P.O. Box 926

Brownsville, TN 38012

Honorable J. Breen
US DISTRICT COURT

